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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                )
UNITED STATES OF AMERICA                        )
                                                )
                                                )
                                                )
       v.                                       )   Criminal No. 21-392-2 (RCL)
                                                )
RUSSELL TAYLOR                                  )
                                                )
               Defendant.                       )


                                           ORDER

       On December 02, 2022, this Court conducted a status conference for all defendants via

video in case 21-cr-392. Dyke Huish, Russell Taylor's attorney in this matter, and Russell

Taylor both failed to appear. The Court subsequently entered an [158] Order to Show Cause.

Mr. Huish entered a response that same day. ECF No. 159.

       The Court accepts the response to the Court's Order to Show Cause and hereby

DISCHARGES the Order. Mistakes happen and are excusable when made by counsel who have

demonstrated they are consistently responsible and cooperative.

       SO ORDERED this        i.il- day of December 2022.



                                            ROYCE C. LAMBERTH
                                            United States District Judge
